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                                 UNITED STATES DISTRICT COURT
                                            FOR THE
                                     DISTRICT OF COLUMBIA

      UNITED STATES OF AMERICA                          :      1:23-cr-00427-DLF-1
           Plaintiff                                    :
      V.                                                :
                                                        :
                                                        :
      DAN EDWIN WILSON                                  :      SEPTEMBER 26, 2025
           Defendant


                       MOTION FOR STAY OF ANY ORDER PERTAING TO
                                RELEASE FROM COSTODY

       Mr. Wilson was among the approximately 1,400 people granted presidential

pardons on January 20, 2025 by President Donald J. Trump. He was

subsequently released by the Bureau of Prisons. Upon information and belief, the

Bureau of Prisons seeks to have Mr. Wilson return to prison. Mr. Wilson requests

a stay of any order that he return to custody.

       In support hereof, the undersigned represents as follows:

       1. Mr. Wilson pleaded guilty and was sentenced to a period of 60 montns

          incarceration by the Court for two sets of charges: firearms convictions

          arising out of the Western District of Kentucky, and charges arising from

          his participation in the riot at the Capitol on January 6, 2021.

       2. Each set of charges ran concurrently to one another.

       3. On or about January 20, 2025, pursuant to an Executive Order of the

          President of the United States, Mr. Wilson was pardoned.

       4. Mr. Wilson was promptly released from the Beckley Federal

          Correctional Institution in West Virginia.

       5. Mr. Wilson was not placed on supervised release.
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       6. Although the firearms charges arose from evidence seized in a search

          of Mr. Wilson’s home, that search warrant was issued to seek evidence

          of his participation in the Capitol riot. It pre-dated his arrest on riot-

          related charges.

       7. At this moment, Mr. Wilson has been released without conditions or

          supervised released.

       8. Whether he was, in fact, pardoned of both sets of offenses has yet to be

          litigated.

       9. Mr. Wilson requests an order staying any effort to take him back into

          custody while this issue is litigated.

       WHEREFORE, the undersigned requests an order barring any efforts either

to take him into custody or requiring him to turn himself in to the Bureau of Prisons

until such time as the scope of the President’s order is clarified.



                                                   THE DEFENDANT
                                                        By /s/ Norman Pattis /s/
                                                        NORMAN PATTIS
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                                      CERTIFICATE OF SERVICE



             I hereby certify that on the foregoing date, a copy of the foregoing Motion was

      filed electronically and served by mail on anyone unable to accept electronic filing.

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Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing. Parties

may access this filing through the Court’s CM/ECF system.


                                                           /s/ NORMAN PATTIS




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